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                 BEFORE THE UNITED STATES JUDICIAL PANEL
                      ON MULTIDISTRICT LITIGATION


IN RE: ACCELLION, INC., DATA BREACH              MDL No. ___________
LITIGATION




                              SCHEDULE OF ACTIONS



             Case Caption                Court       Case Number           Judge
     Plaintiff: Madalyn Brown                       5:21-cv-01155-     Hon. Edward J.
1                                   N.D. Cal.
     Defendant: Accellion, Inc.                     EJD                Davila
     Plaintiff: Susan Zebelman                      5:21-cv-01203-     Hon. Edward J.
2                                   N.D. Cal.
     Defendant: Accellion, Inc.                     EJD                Davila
     Plaintiff: Heather Rodriguez                   5:21-cv-01272-     Hon. Edward J.
3                                   N.D. Cal.
     Defendant: Accellion, Inc.                     EJD                Davila
     Plaintiff: Jaramey Stobbe                      5:21-cv-01353-     Hon. Edward J.
4                                   N.D. Cal.
     Defendant: Accellion, Inc.                     EJD                Davila
                                                                       Hon. Edward J.
     Plaintiff: Christina Price                     5:21-cv-01430-
5                                   N.D. Cal.                          Davila
     Defendant: Accellion, Inc.                     EJD
     Plaintiff: James Jones
                                                    1:21-cv-00146-     Hon. Timothy S.
6    Defendant: The Kroger          S.D. Oh.
                                                    TSB                Black
     Company
     Plaintiff: Eugene Bolton                       3:21-cv-01645-     Hon. Edward J.
7                                   N.D. Cal.
     Defendant: Accellion, Inc.                     EJD                Davila
     Plaintiff: Valerie Whittaker                   5:21-cv-01708-     Hon. Edward J.
8                                   N.D. Cal.
     Defendant: Accellion, Inc.                     EJD                Davila
     Plaintiffs: Tina Govaert &
     Don Moore                                      1:21-cv-00174-     Hon. Timothy S.
9                                   S.D. Oh.
     Defendant: The Kroger                          TSB                Black
     Company
     Plaintiffs: Ricky Cochran &
                                                    5:21-cv-01887-
     Alain Berrebi                                                     Hon. Edward J.
10                                  N.D. Cal.       EJD
     Defendants: The Kroger Co.,                                       Davila
     & Accellion Inc.
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     Plaintiffs: Lenora Doty,
     Elizabeth Shaw & Tracy
                                                  1:21-cv-00198-   Hon. Douglas R.
11   Simpson                         S.D. Oh.
                                                  DRC              Cole
     Defendants: The Kroger
     Company
     Plaintiffs: Philip Angus &
     Mark Wiedder                                 2:21-cv-10657-   Hon. Arthur J.
12                                   E.D. Mich.
     Defendant: Flagstar Bank,                    AJT-DRG          Tarnow
     FSB
     Plaintiff: Tania Garcia
                                                  2:21-cv-10671-   Hon. Denise P.
13   Defendant: Flagstar Bank,       E.D. Mich.
                                                  DPH-APP          Hood
     FSB
     Plaintiff: Grace Beyer
     Defendants: Flagstar                         5:21-cv-02239-   Hon. Susan van
14                                   N.D. Cal.
     Bancorp, Inc., d/b/a Flagstar                SVK              Keulen
     Bank & Accellion, Inc.




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